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February 24, 2021                                                           Orrick, Herrington & Sutcliffe LLP
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The Honorable Alison J. Nathan, U.S.D.J.
United States District Court
Southern District of New York                                               Richard A. Jacobsen

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Re:     U.S. Bank Nat’l Ass’n, as Trustee of GSAMP Trust 2007-HE1 v. Goldman Sachs
        Mortgage Co. et al., Case No. 1:19-cv-02305

        U.S. Bank Nat’l Ass’n, as Trustee of GSAMP Trust 2007-HE2 v. Goldman Sachs
        Mortgage Co. et al., Case No. 1:19-cv-02307

Dear Judge Nathan:

        We represent Defendants Goldman Sachs Mortgage Company and GS Mortgage Securities
Corporation (together, “Defendants”) in the above-referenced actions (the “Actions”). We write
pursuant to Rule 5.B of Your Honor’s Individual Practices to explain the basis for diversity of
citizenship subject matter jurisdiction in this case.

        This Court has subject matter jurisdiction in each of the Actions under 28 U.S.C. § 1332
by virtue of diversity of citizenship. Plaintiff U.S. Bank National Association, in its capacity as
trustee of the GSAMP Trust 2007-HE1 and GSAMP Trust 2007-HE2 is a federally-chartered
national banking association that, pursuant to 12 U.S.C. § 22, has designated an Ohio address as
its “main office.”1 Goldman Sachs Mortgage Company is a New York limited partnership with a
principal place of business in New York, whose sole general partner is a New York corporation
with a principal place of business in New York, and whose sole limited partner is a New York
State-chartered bank with its principal place of business in New York. GS Mortgage Securities
Corporation is a Delaware corporation with a principal place of business in New York. The
amount in controversy in each action exceeds $75,000, exclusive of interest and costs.




1
 For diversity citizenship, a “national bank is a citizen only of the state listed in its
articles of association as its main office.” OneWest Bank, N.A. v. Melina, 827 F.3d 214, 219 (2d
Cir. 2016).
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       We appreciate the Court’s consideration.

                                                  Respectfully submitted,

                                                  /s/ Richard A. Jacobsen

                                                   Richard A. Jacobsen




cc:    Counsel of Record (by ECF)
